 Case 1:20-cr-00183-RJJ ECF No. 571, PageID.4568 Filed 03/25/22 Page 1 of 10




                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
                              ________________

UNITED STATES OF AMERICA,

                   Plaintiff,                      Case No. 1:20-cr-183
            vs.
                                                   Hon. ROBERT J. JONKER
ADAM DEAN FOX and                                  Chief U.S. District Judge
BARRY GORDON CROFT, JR.,

                  Defendants.
_________________________________/

             GOVERNMENT’S RESPONSE TO JOINT MOTION
                    TO COMPEL TESTIMONY

                         Introduction and Background

      The FBI terminated CHS “Steve” as an FBI confidential human source in

October 2020. The reason: Steve had been breaking the law without authorization

and surreptitiously assisting the other conspirators. When he became a confidential

human source, Steve was supposed to be acting solely for the FBI. He had been

admonished by the FBI not to commit crimes unless FBI gave him authority to do so.

Yet, notwithstanding that, he tried to assist the conspirators in several ways. He

failed to let his FBI handlers know that Kaleb Franks, Ty Garbin, and Brian Higgins

had recorded their nighttime surveillance of the Governor’s home on a dash-mounted

camera. When agents arrested Fox, Daniel Harris, and Brandon Caserta, agents told

Steve not to notify anyone, including Croft, about the arrests; Steve did anyway,

telling Croft he was wanted. After warning Croft, Steve told another CHS (who Steve

did not know was a CHS) to encrypt the training roster and that Steve would still
 Case 1:20-cr-00183-RJJ ECF No. 571, PageID.4569 Filed 03/25/22 Page 2 of 10




assist with the kidnapping. Steve then called CHS “Dan” (who Steve also did not

know was a CHS) and told him to destroy footage that Franks took casing the

Governor’s house. Steve later told CHS Dan to throw Croft’s firearm in the lake and

get rid of a vehicle used during reconnaissance.        Steve dubiously claimed in a

statement to agents that he did the above things to try and avoid being “outed” as a

source. He also admitted to lying to the FBI about Higgins’ involvement.

      Defendants Fox and Croft now seek to compel Steve’s testimony over his

threatened invocation of the Fifth Amendment privilege.

      The Court should hold a hearing where the court and parties can voir dire

Steve outside the presence of the jury; after that hearing, the government anticipates

that the Court should bar Steve’s testimony in its entirety. The government believes

that—at a minimum—Steve will invoke his privilege against self-incrimination in

response to the government’s questions on cross-examination. Assuming he does, his

refusal to testify will be based on a well-founded fear of incriminating himself arising

from his obstructive and other potentially criminal actions outside the scope of his

work as a CHS.

      Defendants’ arguments in support are unconvincing. Their arguments are

based on a faulty factual premise because they ignore Steve’s actions outside the

scope of his work as a CHS. Further, Defendants fail to provide a basis to conclude

that Steve’s potential ability to assert an affirmative defense renders the threat of

prosecution less real and substantial. And even assuming an available defense would

create a basis to say Steve does not face a real threat of prosecution, here that defense



                                           2
 Case 1:20-cr-00183-RJJ ECF No. 571, PageID.4570 Filed 03/25/22 Page 3 of 10




lacks the certainty necessary to justify such a finding. Therefore, the government

believes the Defendants’ motion should be denied after voir dire of Steve outside the

presence of the jury.

                                      Argument

   A. Legal Principles

      The Fifth Amendment permits a person to refuse to answer any question that

could incriminate him as well as any question that “would forge links in a chain of

facts imperiling” the witness with a criminal conviction. Hoffman v. United States,

341 U.S. 479, 488 (1951); see also In re Morganroth, 718 F.2d 161, 167 (6th Cir. 1983)

(“A witness risks a real danger of prosecution if an answer to a question, on its face,

calls for the admission of a crime or requires that the witness supply evidence of a

necessary element of a crime or furnishes a link in the chain of evidence needed to

prosecute.”).

      The Court must decide whether a witness’s silence is justified. Hoffman, 341

U.S. at 486. The Court should make this determination through voir dire of the

witness outside the presence of a jury. 1 The witness does not have to give the answer

that would incriminate him at that hearing. Id. Instead, to uphold the privilege, it

only needs to be evident “from the implications of the question, in the setting in which



      1  Defendant cites United States v. Koubriti, 297 F. Supp. 2d 955, 962 (E.D.
Mich. 2004), to suggest this should be an in-camera proceeding. Koubriti cites United
States v. Grable, 98 F.3d 251, 257–58 (6th Cir. 1996). Grable involved the invocation
of the Fifth Amendment privilege related to documents, not testimony. Id. United
States v. Coleman, 453 F. App’x 640, 643 (6th Cir. 2011), by contrast, involved
testimony. In that case, the Sixth Circuit implicitly approved the voir dire process.
Id. at 643–44.

                                           3
 Case 1:20-cr-00183-RJJ ECF No. 571, PageID.4571 Filed 03/25/22 Page 4 of 10




it is asked, that a responsive answer to the question or an explanation of why it

cannot be answered might” incriminate the defendant or be a link in the chain that

leads to a criminal conviction. Id. at 486–87. A court may require a witness to

answer, notwithstanding his invocation, if “it clearly appears to the court that he is

mistaken” that the question would potentially incriminate the witness. Id. (cleaned

up). Though “the privilege protects against real dangers, not remote and speculative

possibilities,” Zicarelli v. N.J. State Comm’n of Investigation, 406 U.S. 472, 478

(1972), “[n]ot much is required . . . to show an individual faces some authentic danger

of self-incrimination, . . . as the privilege extends to admissions that may only tend to

incriminate.” United States v. Rivas-Macias, 537 F.3d 1271, 1278 (10th Cir. 2008)

(cleaned up). A court should uphold an individual’s invocation unless the witness’s

answers could not “possibly have” a tendency to incriminate. Hoffman, 341 U.S. at

488.

       Under certain circumstances, the Court can bar a witness from testifying if the

witness will invoke his Fifth Amendment privilege against self-incrimination. For

instance, if a witness will assert the Fifth-Amendment privilege on all questions, then

the Court should bar his testimony. See United States v. Ballard, 280 F. App’x 468,

470 (6th Cir. 2008) (citing, e.g., United States v. Johnson, 488 F.2d 1206, 1211 (1st

Cir. 1973)). Likewise, the Court can bar a witness’s testimony if the witness will

assert the privilege against self-incrimination only on cross-examination. Coleman,

453 F. App’x at 643. This includes defense witness testimony. Id. at 644.         “[T]he

purpose of cross-examination is to test the credibility of the witness and the



                                           4
 Case 1:20-cr-00183-RJJ ECF No. 571, PageID.4572 Filed 03/25/22 Page 5 of 10




truthfulness of his earlier testimony. Striking all of the testimony of the witness may

be the only appropriate remedy when refusal to answer the questions of the cross-

examiner frustrates the purpose of the process.” Lawson v. Murray, 837 F.2d 653,

656 (4th Cir. 1988). Put differently, the invocation of the Fifth Amendment right

cannot “emasculate” either party’s right of cross-examination.       United States v.

McClurge, 311 F.3d 866, 873 (7th Cir. 2002). Where a witness refuses to answer

questions on cross-examination related to non-collateral matters then some or all of

the witness’s testimony should be stricken. United States v. Stephens, 492 F.2d 1367,

1375 (6th Cir. 1974).

   B. Steve Would Be Subject to Cross-Examination on Matters that Could
      Incriminate Him.

      If Steve testifies, even on discrete matters, the government may then cross-

examine him on any matter within the scope of direct. Coleman, 453 F. App’x at 643.

The scope of direct examination includes any question that would elicit testimony

“reasonably related to the inferences that might reasonably be drawn from the direct”

examination. Id. (cleaned up).

      If the defense asks Steve whether he took action at the direction of the FBI or

did something in furtherance of the FBI investigation, the government will cross

examine Steve on the contours of his duplicitous and obstructive conduct.          His

conduct that led to his termination as a CHS informs whether the earlier actions that

he took allegedly as a CHS were taken, in whole or in part, to further the aims of the

Defendants and their co-conspirators. Further, his conduct as a CHS forms a link in

the chain that could lead to a criminal conviction for his obstructive and unsanctioned


                                          5
 Case 1:20-cr-00183-RJJ ECF No. 571, PageID.4573 Filed 03/25/22 Page 6 of 10




conduct. It explains how he met the conspirators and may help explain why he

decided to engage in the criminal conduct. Steve’s duplicitous and obstructive

conduct, therefore, reasonably relates to every action that he took for the FBI,

because it creates a question about who he was actually working for and for what

reason.

      Steve could incriminate himself if he admits to his obstructive acts or admits

to offering to carry out the kidnapping notwithstanding the arrests of some

defendants. As questions regarding his duplicity would make up the majority of the

government’s cross-examination, the government anticipates that Steve will invoke

his Fifth Amendment privilege against self-incrimination on most, if not all,

questions posed during cross-examination. 2          Such a complete denial of the

government’s ability to cross-examine a witness merits striking the entire testimony.

Coleman, 453 F. App’x at 643 (affirming district court’s decision to bar a defense

witness’s testimony where witness invoked Fifth Amendment privilege in response

to questions within scope of direct).




      2   Steve would also likely invoke his privilege against self-incrimination in
response to questions going to his credibility. Steve’s credibility could be impeached
by his bias, for instance, any bias in favor of Croft, potentially creating liability under
18 U.S.C. § 1503 (corruptly endeavoring to obstruct justice). He may be impeached by
his lies to investigators under Fed. R. Evid. 608(b)(1). The examination could lead to
liability under 18 U.S.C. § 1001 (making a false statement to FBI). Further, he could
be impeached based on his duplicitous conduct generally under Fed. R. Evid.
608(b)(1). The statements could lead to liability under 18 U.S.C. § 1201(c)
(kidnapping) or under Michigan criminal law. See, e.g., Mich. Comp. Laws § 750.543k
(providing material support for terrorist acts, a 20-year felony offense).


                                            6
 Case 1:20-cr-00183-RJJ ECF No. 571, PageID.4574 Filed 03/25/22 Page 7 of 10




      The Court and parties should voir dire Steve outside the presence of the jury.

See id. at 642. If, as the government expects, Steve indicates he will invoke his Fifth

Amendment right in response to the government’s cross-examination (or on whatever

matters defense intends to ask him about), then for the reasons outlined, the Court

should bar the witness.

   C. Defendant’s Arguments Do Not                Undermine Steve’s        Real and
      Substantial Fear of Prosecution.

      Defendants’ arguments in support fall flat. They claim that because Steve was

acting as a CHS, there is no substantial or real danger of criminal prosecution.

Defendants claim that Steve cannot invoke his Fifth Amendment right because he

has a viable defense of entrapment by estoppel.

      That incorrectly assumes, however, that Steve was only acting as a CHS. Steve

ignored the directions of his handlers and committed acts that appear to have been

designed to endeavor to obstruct justice, provide false material information to the

FBI, and to further the conspiracy to kidnap the Governor. Based on Steve’s decision

to ignore his admonition and ignore the directions of his handlers, the government

does not see how Steve can meet the first element of the entrapment-by-estoppel

defense—that the government announced that the charged conduct was legal. United

States v. Levin, 973 F.2d 463, 468 (6th Cir. 1992). Because Steve cannot establish an

entrapment-by-estoppel defense, that possible defense does not justify finding Steve’s

risk of prosecution is remote or speculative.

      Further, a Defendant is not required to waive his constitutional rights because

he might have a viable affirmative defense. Defendant cites no authority for that


                                           7
 Case 1:20-cr-00183-RJJ ECF No. 571, PageID.4575 Filed 03/25/22 Page 8 of 10




proposition. A defendant may invoke his Fifth Amendment privilege against self-

incrimination, while asserting an entrapment defense. Cf. Matthews v. United States,

485 U.S. 58, 62–64 (1988) (holding that a defendant does not have to admit elements

of charged offense before invoking entrapment defense). Put differently, Steve could

exercise his privilege against self-incrimination, while also arguing entrapment by

estoppel, if he were charged. Steve does not have to give up his privilege against self-

incrimination now because he might assert an affirmative defense later.

      And, assuming Steve decided to assert an entrapment by estoppel defense (and

that he made the initial showing required to submit the question to a jury), the jury

would decide whether Steve had been entrapped by estoppel. United States v. Hunter,

4 F. App’x 295, 300 (6th Cir. 2001). Citing Levin, 973 F.2d 463, Defendants might

claim that the Court can make that decision. In Levin, the Sixth Circuit affirmed a

decision of the district court dismissing a case based on entrapment by estoppel on a

Rule 12 motion. However, in Levin, the facts were not disputed, and those facts

established the defense as a matter of law.        Id. at 466–67.    By contrast, the

government’s view of Steve’s conduct appears to vary markedly from the view of

Defendants.

      Defendants’ citation to United States v. Koubriti, 297 F. Supp. 2d 955 (E.D.

Mich. 2004), does not assist Defendants.       That case involved a potential Brady

violation based on the government’s failure to disclose a letter sent by an inmate

(Jones) to Assistant United States Attorneys. Id. at 958. The letter included alleged

jailhouse statements by a cooperating defendant (Hmimssa). Id. In a proceeding



                                           8
 Case 1:20-cr-00183-RJJ ECF No. 571, PageID.4576 Filed 03/25/22 Page 9 of 10




related to the potential Brady violation, Jones sought to invoke his Fifth Amendment

privilege citing his concern over a possible 18 U.S.C. § 1001 charge based on potential

false statements in the letter to the Assistant United States Attorneys. Id. at 961.

Jones also cited his concern over his testimony being used in his pending capital case

to show the letter was being sent to curry favor. Id. First, the court found there was

not a substantial or real risk of prosecution on the § 1001 charge because the

government admitted that it thought the information in the letter was, among other

things, absurd and a joke. Id. at 964. Therefore, the court found there was no real

threat of prosecution: the government had represented that the statements were not

material, undermining an essential element of a § 1001 charge. Id. at 965. Further,

the Court found the letter, its contents, and Jones’s testimony about them were

superficially credible. Id. at 966. That also undermined the government’s ability to

prosecute Jones under § 1001. However, regarding why Jones sent those letters and

why he kept information about his conversations with Hmimssa, that information

could have incriminated Jones. Id. at 971. Specifically, the statements could go to

Jones’s efforts to curry favor with the government (and, thereby, speak to his

consciousness of guilt). Jones could, therefore, validly invoke his Fifth Amendment

rights as to questions on those matters. Id.

      Unlike Jones in Koubriti, Steve has an uncertain affirmative defense based on

disputed facts that a jury would have to decide (assuming Steve were charged,

asserted the defense, and made the preliminary showing necessary to submit it to the




                                          9
Case 1:20-cr-00183-RJJ ECF No. 571, PageID.4577 Filed 03/25/22 Page 10 of 10




jury). Such an uncertain defense does not undermine the threat of prosecution or

Steve’s right to assert his Fifth Amendment privilege against self-incrimination.

                                    Conclusion
      The Court and parties should proceed to voir dire Steve outside the presence

of the jury. After doing so, the government anticipates the Court should bar his entire

testimony based on his invocation of the Fifth Amendment’s privilege against self-

incrimination.

                                        ANDREW BYERLY BIRGE
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Dated: March 25, 2022                    /s/ Nils R. Kessler
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